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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                         UNITED STATES DISTRICT COURT
9                                         EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                       )   Case No. 2:12-cr-185 TLN
                                                     )
11                                Plaintiff,         )   STIPULATION AND ORDER TO CONTINUE
                                                     )   STATUS CONFERENCE TO JANUARY 15,
12          v.                                       )   2015, AT 9:30 A.M.
                                                     )
13   ROBB CHEAL,                                     )   Date: November 20, 2014
     RYAN CHEAL,                                     )   Time: 9:30 a.m.
14   ROBERT CARRILLO,                                )   Judge: Hon. Troy L. Nunley
                                                     )
15                                Defendants.        )
                                                     )
16
17            The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for November 20, 2014, at 9;30 a.m., to January 15, 2015, at 9:30 a.m.
19            Defense counsel require the continuance to consult with their clients about discovery, and
20   to conduct investigation. Defense counsel also require further time to meet and consult with
21   each other. Finally defense counsel require further time to meet and confer with their clients
22   regarding plea agreements that the government has proposed, and propose counter offers to the
23   government.
24            Counsel and the defendants agree that the Court should exclude the time from today
25   through January 15, 2015, when it computes the time within which trial must commence under
26   the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
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      Stipulation and Order to Continue                  -1-                                  2:12-cr-185 TLN
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1             Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: November 18, 2014                      HEATHER E. WILLIAMS
                                                   Federal Defender
5
                                                   /s/ M.Petrik__________
6                                                  MICHAEL PETRIK, Jr.
7                                                  Assistant Federal Defender
                                                   Attorneys for Robb Cheal
8
9    DATED: November 18, 2014
10
                                                   /s/ M.Petrik for_______
11                                                 CHRIS COSCA
                                                   Attorney for Ryan Cheal
12
13   DATED: November 18, 2014
14
                                                   /s/ M.Petrik for_______
15                                                 OLAF HEDBERG
                                                   Attorney for Robert Carrillo
16
17   DATED: November 18, 2014                      BENJAMIN B. WAGNER
18                                                 United States Attorney

19                                                 /s/ M.Petrik for_______
                                                   JASON HITT
20                                                 Assistant U.S. Attorney
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      Stipulation and Order to Continue              -2-                                    2:12-cr-185 TLN
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1                                                ORDER
2             The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8             The Court orders the status conference rescheduled for January 15, 2015, at 9:30 a.m.
9    The Court orders the time from the date of the parties stipulation, up to and including January 15,
10   2015, excluded from computation of time within which the trial of this case must commence
11   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12   DATED: November 18, 2014
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14
                                                              Troy L. Nunley
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                                                              United States District Judge
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      Stipulation and Order to Continue               -3-                                     2:12-cr-185 TLN
